                                                                         CLERK'
                                                                              S OFFIGE U.S,DIST.COURT
                      IN TH E U N ITED STATE S D IST RICT CO U RT               AT ROANOKE,VA
                                                                                     FILED
                      FO R TH E W E STERN D ISTRICT O F W RG IN IA
                               H ARRISON BU RG D W ISIO N                         OCT J 2 2gjg
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                                                                           ez         ,      /
  R1.1INSURANCE COMPANY,                                                          D         4
         Plaintiffy
                                                  CivilA ction N o.5:18-CV -00066


  N EX US SERW CE S,IN C.,
                                                  By: M ichaelF.U rbansld
         D efendanty                              ChiefUnited StatesDistrictJudge



  JUAN VALOY,etal.,
         Intervenors.

                              M EM O RAN D U M O PIN ION

         PbinéffRT,IlnsuranceCompanyr<RT,I'')flledamodontosealitsmodonfor
   secondpreliminaryinjunction.ECFNo.92.Percommunicadonswith thecourtandall
  pardes,defendantNexusServices,Inc.rfNexus'')doesnotobjecttoRT,I'smotiontoseal.
  The couttwiE T AKR U N D E R ADW SEM EN T them odon to seal.

                                             1.

         LocalRule9 requiresaparty seeldng to sealdocum entsto provide the couttwith

   T<the non-confidendalreasonswhy sealing isnecessary,itw luding thereasonswhy

   alternadvesto sealing areinadequate.''W .D .Va.LocalR.9.RT,Iexplained thatthiscourt's

  preliminaryinjuncdon orderprohibitsdisclosureofinformaéon obtained from the
  injuncdon,and thatFedemlRuleofCivilProcedure65requiresmodonsforpreliminary

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  injuncéontobesupportedbyevidence.ECFNo.92,at1-2.RT,lnotesthatLocalRule9
  states:ffgpjordonsofadoclzmentcannotbeflledorplaced underseal- onlytheentire
  doctzm entm ay be sealed.''Id.at2.

         Thecommon law ptesumesarightto inspectand copyjudicialrecordsand
  docum ents. SeeIn ReU.
                       S.foranOrderPursuantto 18U.S.C.Section270397,707F.3d
  283,290 (4th Cir.2013).Tlaispresumpéon ofaccessmaybeovercomeifcompeting
  interestsoutweigh thepublic'sinterestin access.Seeida;Rushfordv.N ew YorkerM a azine

  Inc.,846F.2d249,253(4thCir.1988)9InreW ash.PostCo.,807F.2d383,390(4thCir.
  1986).Thecommonlaw rightofaccessisbuttressed bytheffmorerigotous''rightofaccess
  provided by theFirstAm endm ent,w hich appliesto am ore narrow classofdocum ents,

  inclucling docllm entsffm adepartofadispositivem odon''in a civilcase.SeeVa.D ep'tof

  StatePolicev.W ash.Post,386F.2d567,576(4th Cir.2004)(citingRush-
                                                                 fo-
                                                                   r-
                                                                    d,846F.2dat
  252).IfacouttrecordissubjecttotheFirstAmendmenttightofpublicaccess,therecord
  m ay besealed Tçonly on the basisofacom pelling governm entalinterest,and onlyifthe

  denialisnarrowly tailored to serve thatinterest.';Stonev.Univ.ofM d.M ed.S s.Co .,855

  F.2d 178,180 (4th Cit.1988)(ciéngRushford,846F.2dat253).
         Because theFirstAm enclm entand the com m on 1aw provide differentlevelsof

  protecdon,itisnecessaty to determ ine the source ofthetightofaccessbefore acourtcan

   accurately weigh the com peting interestsatstake.SeeVa.D e 'tofStatePolice,386 F.3d at

   576.Here,RI,lpursuessealingamoéonfotpreliminaryinjuncdonanditssuppordng
   m em orandum ,declaraéons,and exhibits.Accorflingly,them orestdngentFitstAm enclm ent

   righto/publicaccessapplies.Seectr.forAutoSafetyv.ChryslerGm .,LLC,809F.3d 1092,


                                      2
Case 5:18-cv-00066-MFU-JCH Document 103 Filed 10/30/18 Page 2 of 6 Pageid#: 1219
  1103(9th Cir.2016)(<tDuetothestrongpresumpéonforpublicaccessandthenatureofthe
  instantmotion forapreliminaryinjuncdon,Chryslermustdemonstratecompellingreasons
  tokeepthedocumentsunderseal.'');PublickerIndus.,Inc.v.Cohen,733F.2d1059(3rd
  C9.1984)(finclingaFirstAmendmentrightofaccesstopreliminaryitjuncéonproceeHings);
  BaerCro sciencelnc.v.S n entaCro Prot.LLC,979F.Supp.2d653,656(M.D.N.C.
  2013)(<fTheCotzttconcludesthatthebdefingand exhibitsflledin connecdon withmodons
  seeldnginjuncdvereliefaresubjecttothepublic'sFirstAmendmentrightofaccess.').
         To overcom ethe FirstAm endm entrightofaccess,theparty seeldng to keep the

  informadon sealedmustpresentspecifcreasonsto jusdfyrestrice gaccesstothe
  informadon.SeelnreIinihtPub.Co.,743F.2d231,234(4thCir.1984)9seealsoPress-
  Enter.Co.v.Su er.CouttofCal.,478U.S.1,15(1986)(<<TheFirstAmendmentrightof
  accesscannotbeovercomeby ga)conclusoryasseréon.').Thecourtalsomustcomplywit.
                                                                             h
  cenainptocedutalrequitementswhen presented+ t.14arequesttosealjudicialtecordsor
  doctzm ents.SeeV a.D e 'tofStatePolice,386 F.3d at576.The couztm ustfustgivepublic

  noticeoftherequestto sealand areasonableoppo> nitytochallengeit.J-daThecollt'tmust
  also considerlessdrasticalternadvesto sealing.Id.lfthe couttdecidesto seal,itm uststate

  thereasonsforitsdecision supportedbyspecihcfindings,andthereasonsforrejecdng
   alternaévesto sealing.Id.

                                            II.

         RT,Irequeststhatitsmotion forsecondpreliminaryinjuncéon,memorandum in
   support,and supporting declaradonsand exllibitsbeplaced under seal.RI,IVice President

   ofSurety Clnim sIraE.Sussm an,RT,
                                   IClnim sExnm inerLauta Piispanen,and forensic



                                             3
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  accountantPeterFascia subm itted declaradonsin supportofthe m odon.M s.Piispanen's

  declaradon includesthreeattached exlzibits:(1)aSeptember28,2018letteraddressed to her
  from theU .S.D epartm entofH om eland Security,with the attachm entofa com plaintftled

  byNexusandothersagainstthegovernmentin federalcotut;(2)an October5,2018letter
  sentbyRT,
          1'scounseltoNexus'counselregardingademandforexoneradon;and (3)an
  O ctober10,2018 letteyin response from N exus'counselto RT,I'scounsel,with the

  attachmentsofa partiallyredacteddecision byan immigration judgeand ahighlighted copy
  ofU.S.Im m igraéonsand Custom sEnforcem ent'sBond M anagem entH andbook.

         Thedocketing ofRT-1'sm otion to sealconsdtaztesffpublicnodce.''See Stone,855

  F.2d at181.The Tfpublic opportunity to challenge''requirem entism etwhen thecourtallow s

  sufâcienttimeforobjecdonstobemade.SeeMillenrlium lnor anicChems.Ltd.v.Nat'l
  UatonFirelns.Co.,893F.Supp.2d715,743@ .Md.2012)9Erichsenv.RBC Ca italMkts.
  LLC,883F.Supp.2d 562,575 (E.D.N.C.2012);Honeycuttv.CityofRockingham,N.C.,
  No.1:09cv912,2012WL 360027,at*1(M.D.N.C.Feb.2,2012)(finding thatten dayson
  thepublicdocketwasasufficienttimeforobjectionstobemadetoamodontoseal).Hete,
  RI,I'sm otion to sealwasflled on O ctober22,2018,wllich w asdoneffreasonablyin advance

  ofFhisCourt)deciing theissue''oneweek later.SeeIn reKnightPub.Co.,743F.2d 231,
  235(4th Cir.1984).
         H ow ever,RT,
                     1hasnotdem onsttated thatlessdrasticalternadvesareunavo able.The

   courtunderstandsw hy IUwIm oved to sealtllism odon and docum entsgiven thatthe

  informaéonin themodonresultedfrom thefttstpreliminaryitjuncdon'sdisclosures.
   H owever,the court'spurposeoftheprotecéve orderwasto ptotectagainstthe disclosureof



                                             4
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      N exus'clientslnighly personaland sensidveinform atbn.Thepapersflled by RI,Iappearto

      almostexclusivelyrelyonNexus'financialinfotmadonfrom thepzeliminaryitjuncdon
      disclosures.In thesepapers,thereappeatsto only be asttay refetence to the nam eofone

      clientin an attachm entto M s.Piispanen'sdeclaraéon.Tllisreference could beredacted and

      could com ply wit.h the FirstAm endm ent'spubliccliscloslzrerequirem entsfora disposiéve

      m odon such asthisone.N eitherparty hasexplained why lessdrasdcalternaéveswould not

      suffke to protecttheitortheitclients'interestsin conûdentiality,such asthe subm ission of

      redacteddeclaraéonsandexhibits.Relianceonthepreliminaryinjunctionorderaloneis
      insuffkient.

            Because the docum entsand inform ation referenced in RT,I'sm odon generally do not

      im pose upon theprivacy ofN exus'clients,orotherwiseobviouslyim plicate the Fizst

      Am endm entdghtofaccess,the courtcannotstatereasonsin supportofwhy them odon

      and suppordng m em orandlzm ,declaradons,and exhibitsshould besealed in theirentirety.

      NeitherRT,
               InorNexushaveprovidedsuffkientjusdficadonforsealingthisinformadonin
      itsentiretyeither,oraddressed whethertheFirstAm enclm entisthe appropriate standatd to

      apply here.Cf.K in CoalChevroletCo.v.G en.M otorsCo.,N o.CIV.A.2:12-5992,.2012

      R 5265913,at*2(S.D.W .Va.Oct.23,2012)(fTIN1odiscussionisofferedbydefendants
      concerning whetherthe FirstA m endm entrightofpublic accessèxtendsto doclzm ents

      submittedin connecdon with apreliminaryinjuncdon motion.'l.overall,RT,
                                                                           Ihasnot
      offeredafacmalbasisuponwhich thecourtcapmakespecifk factualfinclingsjuséfying
  '
      sealing and showing thatalternaévesto sealing would beinsufhcient,astequited bylaw .




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                                               111.

        Accordingly,the courtwillT AKE U N DE R A DW SEM EN T RLl'sm oéon to seal.

  ECF N o.92.The Clerk willbeD IRECTE D to tem porarily sealM l'sm odon and

  suppoMngdocuments.lkLIandNexusV*l1havefourteen (14)daysfrom thedateoftlzis
  opiniontosubmitasupplementalsubmission setfingforth:(1)speciûcfactual
  representadonstojustifysealingthemoéon,memorandllm,declarations,andexllibits,and
  an explanadon ofwhy alternadvesto sealing wotlld notprovide sufûcientprotecdon,

  keepinginmindtheFirstAmendmentrightofaccesssetforthabove;(2)tedactedcopiesof
  the m odon,m em orandum ,declarations,and exhibitsalong with specihcrepresentadonsas

  towhythepardcularredacdonsarenecessary;or(3)nodcethatRT,liswithdrawingthe
  exh bitsfrom consideration by thecotutin connecéon with them odon to seal.Iftleither

  party fllessupplem entalsubmissions,the courtwilldirectthe clerk to unsealthe m odon and

  itssuppordng docum entsafterfourteen days.

        An appropriate O rderwillbeentered.



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                                                      ChlefUnited StatesDistrictludge




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